                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI
                                    AT KANSAS CITY

 BILLIE RODRIGUEZ, DANIEL ERWIN,
 MICHAEL B. ACKERMAN, and KYLE
 FOREMAN, individually and on behalf of all others
 similarly situated,

                          Plaintiffs,
          v.                                              Case No.: 4:24-cv-00803-SRB

 EXXON MOBIL CORPORATION, CHEVRON
 USA INC., CHEVRON PHILLIPS CHEMICAL
 CORPORATION, DUPONT de NEMOURS,
 INC., DUPONT CORPORATION, CELANESE
 CORPORATION, DOW INC., DOW
 CHEMICAL COMPANY, EASTMAN
 CHEMICAL COMPANY,
 LYONDELLBASELL INDUSTRIES N.V., and
 AMERICAN CHEMISTRY COUNCIL,

                          Defendants.


      CONSENT MOTION TO EXTEND SPECIALLY APPEARING DEFENDANT
          EASTMAN CHEMICAL COMPANY’S TIME TO RESPOND TO
          PLAINTIFFS’ COMPLAINT AND SUGGESTIONS IN SUPPORT

         COMES NOW Eastman Chemical Company, specially appearing by and through counsel,

and moves for an Order extending by 28 days—up to and including February 10, 2025—Eastman’s

deadline to respond to Plaintiffs’ Complaint. Plaintiffs’ counsel has consented to the relief

requested in this motion.

         By specially appearing and moving for this extension, Eastman does not concede that it is

subject to jurisdiction in this Court and reserves all defenses under Federal Rule of Civil

Procedure 12(b).

                                   SUGGESTIONS IN SUPPORT

    In support of this motion, Eastman states as follows:

    1.         Counsel for Eastman and Plaintiffs have conferred on the requested relief. By email

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of January 7, 2025, Plaintiffs’ counsel, Mr. Rex Sharp, confirmed his agreement to extending

Eastman’s response deadline to February 10, 2025.

       2.      Eastman was served with the Complaint on December 23, 2024. Its current response

deadline is January 13, 2025. The requested 28-day extension would result in a new response

deadline of February 10, 2025.

       3.      Eastman is requesting this extension due to the complexity of Plaintiffs’ Complaint,

which is 300 paragraphs long and purports to bring 45 separate claims on behalf of various nationwide

and state subclasses. The Complaint was also served on Eastman in the middle of the holiday season.

       4.      As of the date of this filing, it does not appear that all Defendants have been served.

However, the parties are discussing a coordinated briefing schedule to aid in the efficient handling of

this case and to minimize the burden on the Court. Based on those discussions, Eastman may request

a further extension of its response deadline.

       5.      As of this filing, Eastman’s time to respond to the Complaint has not expired.

       6.      This Consent Motion is filed as a good-faith effort to allow an appropriate amount of

time for Eastman to respond to the Complaint. It is not filed to create unnecessary delay.

       WHEREFORE, Defendant Eastman Chemical Company respectfully asks that the Court enter

an Order extending Eastman’s deadline for responding to the Complaint by 28 days, to and including

February 10, 2025.




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Dated: January 9, 2025            Respectfully submitted,

                                  ARMSTRONG TEASDALE LLP


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                                    Attorneys for Defendant Eastman Chemical
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of January, 2025, a copy of the above pleading was
served via the District Court ECM/ECF system on all counsel of record.


                                             /s/ Karrie J. Clinkinbeard
                                             Attorney for Defendant Eastman
                                             Chemical Company




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